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 1                                                   HONORABLE JAMES L. ROBART
                                                  HEARING DATE: NOVEMBER 2, 2021
 2                                                                MOVING PARTY
 3

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 6

 7                   IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8

 9   KEVIN J. CRANE, individually and on behalf    Case No.: 2:19-CV-01407-JLR
     of all others similarly situated,
10                                                 [PROPOSED] ORDER GRANTING
                 Plaintiff,                        PLAINTIFF’S MOTION FOR FINAL
11                                                 APPROVAL OF CLASS ACTION
     vs.                                           SETTLEMENT
12
     URS MIDWEST, INC., a Delaware                 Date: November 2, 2021
13                                                 Time: 9:00 a.m.
     Corporation,
14
                 Defendant.
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26
     [PROPOSED] ORDER GRANTING                                  ACKERMANN & TILAJEF, P.C.
     FINAL APPROVAL                                             2602 N. PROCTOR ST., STE. 205
     Case No. 2:19-CV-01027-JLR                                    TACOMA, WA 98406
     -1-                                                    P: (253) 625-7720 F: (253) 276-0081
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 1          The Court, having read and considered all of the papers of the Parties and their counsel,

 2   including Plaintiff’s Motion for Final Approval of Class Action Settlement (Dkt. # 25) and

 3   Plaintiff’s Memorandum of Points and Authorities in Support of Motion for Attorneys’ Fees and

 4   Costs and Class Representative Service Award (Dkt. # 27), filed on October 12, 2021; having

 5   granted preliminary approval on July 1, 2021 (“Preliminary Approval Order”); having considered

 6   the factors set forth in Rule 23(e)(2) of the Federal Rules of Civil Procedure (“FRCP”); and good

 7   cause appearing, pursuant to FRCP 23(e)(1)(A), HEREBY ORDERS AS FOLLOWS:

 8          1.      The Court grants final approval of the Settlement based upon the terms set forth

 9   in the Stipulation and Settlement Agreement of Class Action Claims (“Settlement Agreement”)

10   attached hereto as Exhibit 1.

11          2.      For settlement purposes only, the Court certifies the Class, as defined in the

12   Court's July 1, 2021 Order Granting Conditional Certification of Settlement Class and

13   Preliminary Approval of Settlement as follows:

14         All individuals who (1) resided in Washington State, (2) held Washington State
           Commercial Driver’s Licenses, (3) were employed by Defendant, (4) in the position of
15         truck driver or any other similar position, (5) and who drove at least 1 route of at least
           4 hours that was (6) paid, in whole or in part, on a per-load piece-rate basis (or any
16
           other piece-rate basis), (7) at any time from August 2, 2016 through April 22, 2021
17         (collectively, “Class Members”).

18          3.      The Court hereby finds that the Notice of Proposed Class Action Settlement, as
19   mailed to all Class Members, as previously ordered by the Court, fairly and adequately described
20   the terms of the proposed Settlement Agreement, the manner in which Class Members could
21   object to the settlement, and the manner in which Class Members could opt out of the Class; was
22   the best notice practicable under the circumstances; was valid, due and sufficient notice to all
23   Class Members; and complied fully with FRCP Rule 23(e)(1)(B), due process, and all other
24   applicable laws. The Court further finds that a full and fair opportunity has been afforded to Class
25   Members to participate in the proceedings convened to determine whether the proposed
26   Settlement Agreement should be given final approval. Accordingly, the Court hereby determines
27   that, since there were no requests for exclusion, all 97 Class Members are bound by this final
28   Order and shall be deemed to have released any claims described in the Settlement Agreement
     [PROPOSED] ORDER GRANTING                                             ACKERMANN & TILAJEF, P.C.
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 1   (the “Released Claims”).

 2          4.       Having considered the factors set forth in Federal Rule of Civil Procedure

 3   23(e)(2), and having applied a high level of scrutiny as required when settlement precedes class

 4   certification, the Court finds that the Settlement Agreement is fair, reasonable, and adequate as

 5   to the Class, Plaintiff, and Defendant, and is the product of good faith, arm’s-length negotiations

 6   between the Parties, and further, that the Settlement Agreement is consistent with public policy,

 7   and fully complies with all applicable provisions of law. Accordingly, the Court hereby finally

 8   and unconditionally approves the Settlement Agreement pursuant to FRCP 23(e)(1), and

 9   specifically:

10                   a.      Approves the $100,000.00 Gross Settlement Amount;

11                   b.      Approves the distribution of the Net Settlement Amount to Participating

12   Class Members in the manner specified in and subject to the terms of the Settlement Agreement;

13                   c.      Approves the Class Representative Service Award of $5,000.00 to the

14   Class Representative;

15                   d.      Approves Class Counsel’s requested fees award of $30,000.00, which is

16   thirty percent (30%) of the Gross Settlement Amount, and is to be paid from the Gross Settlement

17   Amount;

18                   e.      Approves Class Counsel’s request for reimbursement of litigation

19   expenses of $4,080.14 to be paid from the Gross Settlement Amount; and

20                   f.      Approves payment to CPT Group, Inc., the Settlement Administrator, of

21   Administration Costs in the amount of $7,500.00 to be paid from the Gross Settlement Amount;

22   and

23                   g.      Approves and orders that in all other particulars the Settlement Agreement

24   be carried out by the Parties and the Settlement Administrator subject to the terms thereof.

25   //

26   //

27   //

28
     [PROPOSED] ORDER GRANTING                                             ACKERMANN & TILAJEF, P.C.
     FINAL APPROVAL                                                        2602 N. PROCTOR ST., STE. 205
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 1          5.      The Court orders that, following the Effective Date as defined in the Settlement

 2   Agreement, the Parties and the Settlement Administrator shall carry out the following

 3   implementation schedule for further actions and proceedings:

 4                                                        Deadline for Defendant to fund the
       Within 30 calendar days of Effective Date
                                                          settlement
 5                                                        Deadline for Settlement Administrator to
 6                                                        mail the Individual Settlement Payments to
                                                          eligible Participating Class Members; pay
 7                                                        the appropriate taxes to the appropriate
       Within 40 calendar days of the Effective Date
                                                          taxing authorities; make payment of Court
 8                                                        approved attorneys’ fees and costs to
                                                          appropriate counsel; and make payment of
 9                                                        the Class Representative Payment
10                                                        Uncashed checks shall be sent by the
                                                          Settlement Administrator to the Washington
       90 days after issuance of Settlement checks
11                                                        State Department of Revenue Unclaimed
                                                          Property Fund with the associated name of
12                                                        the Class Member
13
            6.      This action is hereby dismissed with prejudice; provided, however, that without
14
     affecting the finality of this Order, the Court retains exclusive and continuing jurisdiction over the
15
     case for purposes of supervising, implementing, interpreting and enforcing this Order and the
16
     Settlement Agreement, as may become necessary, until all of the terms of the Settlement
17
     Agreement have been fully carried out.
18
            7.      Upon the Settlement Effective Date, Plaintiff and all Class Members who have not
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     timely and properly excluded themselves from the Settlement Agreement shall be and hereby are
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     enjoined from filing, initiating or continuing to prosecute any actions, claims, complaints, or
21
     proceedings with respect to the Released Claims.
22
            IT IS SO ORDERED.
23
     DATED this 2nd day of November, 2021
24

25

26                                                         A
                                                           HON. JAMES L. ROBART
27
                                                           UNITED STATES DISTRICT JUDGE
28
     [PROPOSED] ORDER GRANTING                                             ACKERMANN & TILAJEF, P.C.
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                                 SETTLEMENT AGREEMENT

         Subject to the approval of the United States District Court for the Western District of

Washington at Seattle, Plaintiff Kevin J. Crane, individually and on behalf of all Class Members,

as defined herein, and Defendant URS Midwest, Inc., a Delaware corporation, (“URS Midwest”
or “Defendant”), agree to the terms of this joint settlement agreement and release (the
“Settlement”).
I.       DEFINITIONS

         For the purposes of the Settlement, any word or phrase that is presented in initial capital
letters (e.g., Class Member), is a word or phrase defined herein.
         1.    “Action” shall mean the civil action currently pending in United States District

Court, Western District of Washington, entitled "Kevin J. Crane, individually and behalf of all
others similarly situated, Plaintiff, v. URS Midwest, Inc., a Delaware corporation, Defendant."

Case No. 2:19-cv-01407-JLR-BAT; Complaint filed on August 2, 2019 in King County Superior
Court.

         2.    “Check Cashing Period” shall mean the 90-day period commencing the date on
which the Settlement Proceeds are mailed to the Class Members. After the 90-day Check

Cashing Period, any uncashed proceeds shall be dispersed as set forth in Section III, paragraph

35, below.
         3.    “Class Counsel” shall mean Craig Ackermann and Brian Denlinger of Ackermann

& Tilajef, P.C. and India Lin Bodien, Attorney at Law;
         4.    “Class Member” shall mean All individuals who (1) resided in Washington State,

(2) held Washington State Commercial Driver’s Licenses, (3) were employed by Defendant, (4)

in the position of truck driver or any similar position, (5) and who drove at least 1 route of at
least 4 hours that was (6) paid, in whole or in part, on a per-load piece-rate basis (or any other

piece-rate basis), (7) at any time from August 2, 2016 through April 22, 2021 (collectively,
“Class Members” or “Class”). As of April 22, 2021, Defendant represents there are


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approximately 87 Class Members.

       5.     “Response Deadline” shall mean the date by which Share Forms must be

postmarked and/or received by the Settlement Administrator if any Class Member wishes to opt
out of the Settlement, file an objection to the Settlement, or challenge their Settlement Share.
The Response Deadline shall be forty-five (45) calendar days from the mailing of the Class

Notice and Share Form.
       6.     “Settlement Share”, “Settlement Proceeds”, or “Individual Settlement Payment”
shall mean the amount of money allocated to each Class Member pursuant to paragraph 38 of
this Settlement.
       7.     “Class Period” shall mean the period from August 2, 2016 through April 22, 2021;

       8.      “Class Representative,” “Plaintiff” and “Named Plaintiff” shall mean Kevin J.

Crane, the person identified as named Plaintiff in the Complaint;
       9.      “Court” shall mean the United States District Court for the Western District of

Washington at Seattle;
       10.    “Defendant,” “URS Midwest,” or the “Company” shall mean URS Midwest, Inc.,

a Delaware corporation;

       11.    “Final” shall mean the latest of the following dates, as applicable: the date the
Court has rendered a Final Judgment of the Settlement and either (i) the United States Court of

Appeals for the Ninth Circuit or the United States Supreme Court has rendered a final judgment
affirming the Court’s approval without material modification and the applicable date for seeking

further appellate review has passed, or (ii) the applicable date for seeking appellate review of the

Court’s Final Judgment of the Settlement has passed without a timely appeal or a request for
review having been made.

       12.    “Final Judgment” shall mean the order granting final approval of the class action
settlement entered by the Court.

       13.    “Gross Settlement Amount” shall mean the all-inclusive settlement amount of


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$100,000 that Defendant will be obligated to pay in connection with the Settlement. From the

Gross Settlement Amount will be deducted all costs incurred in connection with the Settlement,

including: Plaintiff’s Class Representative Payment ($5,000); Class Counsels’ attorneys’ fees
(including all attorneys’ fees and expenses incurred to date and to be incurred in documenting
the Settlement, securing trial and appellate court approval of the Settlement, attending to the

administration of the Settlement, and obtaining a dismissal of the Action) of 30% of the Gross
Settlement Amount, i.e., $30,000 in fees, and up to $7,500 in costs and expenses; the Settlement
Administrator’s actual fees and expenses (estimated to be $7,500); and all taxes associated with
the settlement. The amount remaining in the Gross Settlement Amount after all applicable
deductions shall be referred to as the “Settlement Proceeds” or “Net Settlement Amount.” The

Net Settlement Amount will be paid out to the Class Members without the need for Class

Members to claim their pro rata share.
       14.    “Net Settlement Amount” shall have the meaning described in “Gross Settlement

Amount,” above.
       15.    “Notice” shall mean the Notice of Class Action Settlement, attached hereto as

Exhibit A. It is the Notice, approved by the Parties and subject to Court approval, which the

Settlement Administrator will mail to each Class Member explaining the terms of the Settlement.
       16.    “Participating Class Members” shall mean all Class Members other than those who

timely and properly elect not to participate in the Settlement by submitting a written and valid
Opt Out.

       17.    “Parties” shall mean Class Members, Class Representative, and Defendant, and

“Party” shall mean any one of the Parties.
       18.    “Piece Rate Earnings” shall mean all compensation earned by Class Members

from Defendant during the Class Period on a per-load piece-rate basis;
       19.    “Opt Out” refers to the process by which a Class Member must timely and

properly submit a written notice to the Settlement Administrator to exclude himself or herself


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from the Settlement herein, as well as to prevent the release of his/her claims raised in this

Action.

          20.   “Settlement” shall mean this settlement agreement between the Parties, which,
with Court approval, is intended to provide the terms relevant to the resolution of the Action with
regard to all Participating Class Members.

          21.   “Settlement Administrator” shall mean the Settlement Administrator that the
Parties mutually select to perform the duties set forth in this Settlement, subject to the Court’s
approval.
          22.   “Settlement Effective Date” shall mean the date by which all of the following have
occurred: (i) the Parties, or any one of them, has not voided this Settlement pursuant to Section

XXVII, paragraphs 86 or 87; (ii) the Court has granted Final Approval and entered Final

Judgment as to this Settlement; and (iii) the Court’s Final Judgment has become Final.
          23.   “Settlement Proceeds” shall have the meaning described in “Gross Settlement

Amount,” above.
          24.   “Share Form,” shall mean a form in substantially the form as Exhibit A attached

hereto. It is the Share Form, approved by the Parties and subject to Court approval, which the

Settlement Administrator will mail to each Class Member explaining the Class Member’s
estimated Individual Settlement Payment.

II.       RECITALS
          25.   On August 2, 2019, Plaintiff commenced the Action on behalf of himself and all

others allegedly similarly situated with respect to the claims asserted, and Plaintiff filed his First

Amended Complaint on August 2, 2019 in the King County Superior Court. On September 3,
2019, Defendant filed its Notice of Removal, removing this case to the U.S. District Court for the

Western District of Washington.
          26.   The Parties, through their attorneys, agreed to engage in an informal exchange of

discovery and information. Class Counsel sent a request for informal discovery to Defense


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counsel, and in April of 2021, Defendant’s counsel provided Class counsel with a set of response

documents including, inter alia, Plaintiff’s personnel file and wage statements, and a class list

spreadsheet showing the Class Members’ hire dates, termination dates, and their piece-rate
compensation earned during the Class Period.
       27.    On April 22, 2021, after the exchange of informal discovery, the Parties engaged

in private negotiations through mediation with Cliff Freed, Esq. serving as neutral. Through
mediation and subsequent negotiations, the Parties agreed to resolve this matter under the terms
of this Agreement.
       28.    Defendant denies any liability or wrongdoing of any kind associated with the
claims alleged, and contends that, for any purpose other than this Settlement, the Action is

neither actionable nor appropriate for class treatment under Washington CR 23, Rule 23 of the

Federal Rules of Civil Procedure, or otherwise. The Parties agree, however, that it is appropriate
to certify the class for purposes of this Settlement only.

       29.    Class Counsel represent that they have conducted a thorough investigation into the
facts of this Action and have diligently pursued an investigation of the Class Members’ claims

against Defendant, including engaging in pre-mediation investigation, reviewing substantial data

and documents, and researching the applicable law and potential defenses. Based on their own
independent investigation and evaluation, Class Counsel are of the opinion that the Settlement is

fair, reasonable and adequate and is in the best interests of Class Members in light of all known
facts and circumstances, including the risk of protracted litigation, the risk that the Court would

not certify a class action, and Defendant’s defenses and potential appellate issues.

       30.    Defendant agrees that the Settlement is fair, reasonable and adequate under the
circumstances, taking into account litigation risks and costs of defense.

       31.    This Settlement represents a compromise of materially disputed claims. Nothing
in this Settlement is intended or will be construed as an admission by Defendant that Plaintiff’s

claims in the Action have merit or that Defendant has any liability to Plaintiff or the Class


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Members on those claims.

       32.     The entry of Final Judgment in this action shall dismiss with prejudice all claims

set forth in the Action, provided that it will also state that the Court retains jurisdiction to enforce
the terms of the Settlement.
III.   TERMS OF SETTLEMENT

       33.     The Parties agree that, with the Court’s approval, the Court shall certify a class
solely for the purpose of implementing the terms of this Settlement.
       34.     Gross Settlement Amount: The Gross Settlement Amount under this Settlement is
$100,000, as defined above.
       35.     Checks Cashed Process: Participating Class Members (i.e., those who do not

timely and validly Opt Out) will receive a check pursuant to this Settlement as set forth under

Paragraph 38. If any Participating Class Members do not cash their checks within the 90-day
Check Cashing Period, any amounts associated with those Class Members’ uncashed checks will

be sent by the Settlement Administrator to the State of Washington’s Unclaimed Property Fund
with the associated name of the Class Member pursuant to Washington’s Unclaimed Property

Act (RCW 63.29, et seq.). If any Class Members opt-out of the Settlement, their portion of the

Settlement shall remain with the Settlement Proceeds available for pro-rata distribution to the
Participating Class Members.

       36.     Class Counsel’s Attorneys’ Fees and Costs: Defendant will not oppose Class
Counsel’s request to the Court for approval of a total for attorneys’ fees in an amount that does

not exceed 30% of Gross Settlement Amount (i.e., $30,000), to be paid out of the Gross

Settlement Amount, plus up to $7,500 in litigation costs. The Settlement Administrator will issue
to Class Counsel a Form 1099 with respect to their awarded fees and costs.

       37.     Class Representative Payment: Defendant will not oppose Plaintiff’s application
to the Court for a Class Representative Payment not to exceed $5,000 to the Class

Representative, to be paid out of the Gross Settlement Amount, in addition to his Individual


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Settlement Payment. The Settlement Administrator will issue to the Class Representative a Form

1099 with respect to his Class Representative Payment.

       38.   Distribution to Class Members: Distribution of the Settlement Proceeds shall be
made by the Settlement Administrator as follows:
              (a)     After deductions of Court approved Class Counsel’s attorneys’ fees and

       expenses, the Class Representative Payment, the estimated payment for the services of
       the Settlement Administrator, the remainder of the Gross Settlement Amount (i.e., the
       Settlement Proceeds) shall be available to be distributed to the Participating Class
       Members.
              (b)     Every Participating Class Member—meaning all Class Members who

       have not timely and properly opted-out of the Settlement—will be entitled to his or her

       allocated share of the Settlement Proceeds. The calculation is as follows and is based
       upon the information provided to the Settlement Administrator by Defendant: each Class

       Member’s share shall be calculated by first dividing his or her Piece Rate Earnings during
       the Class Period by the sum total of all Class Members’ Piece Rate Earnings during the

       Class Period. This calculation will result in a percentage figure for each Class Member

       (the “Percentage Figure”). The Percentage Figure will then be used to determine each
       Class Member’s portion of the Settlement Proceeds by multiplying the Percentage Figure

       to the Settlement Proceeds. This portion is referred to as the “Settlement Share.”
              (c)     One-fourth (25%) of every Individual Settlement Payment will represent

       wages allegedly due and will be subject to required legal deductions and reported on a

       Form W-2. The other three-fourths (75%) of every Individual Settlement Payment will
       represent alleged penalties and interest and will be reflected on a Form 1099. The

       Settlement Administrator will withhold appropriate taxes from the Individual Settlement
       Payments. The W-2s and 1099s will be prepared by the Settlement Administrator.

       39.   Settlement Payment Date: Within thirty (30) days after the Settlement Effective


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Date, Defendant shall fund the settlement. Within forty (40) days after the Settlement Effective

Date, the Settlement Administrator shall mail the Individual Settlement Payments to eligible

Participating Class Members; pay the appropriate taxes to the appropriate taxing authorities;
make payment of Court approved attorneys’ fees and costs to appropriate counsel; and make
payment of the Class Representative Payment approved by the Court.

IV.    NOTICE TO THE CLASS MEMBERS
       40.    Within thirty (30) days after the Court’s entry of its order granting preliminary
approval, Defendant will provide the Settlement Administrator with the names, last known
addresses, phone numbers, Social Security numbers, and the amount of Piece Rate Earnings
during the Class Period for the Class Members.

       41.    The Settlement Administrator will use reasonable tracing to verify the accuracy of

the addresses before the initial mailing to ensure that the Notice is sent to Class Members at the
addresses most likely to result in prompt receipt. It will be conclusively presumed that if an

envelope so mailed has not been returned within thirty (30) days of the mailing that the Class
Member received the Notice.         With respect to envelopes returned as undeliverable, the

Settlement Administrator will use reasonable diligence to obtain a current address and re-mail

the envelope to such address.
       42.    Class Counsel shall provide the Court, at least six (6) business days prior to the

final fairness hearing, a declaration by the Settlement Administrator specifying the due diligence
it has undertaken with regard to the mailing of the Notice.

V.     CLASS NOTICE DISSEMINATION PROCESS

       43.    The Class Notice and Share Form distributed to Class Members, attached
substantially hereto as Exhibit A, or as otherwise approved by the Court, shall be sent by the

Settlement Administrator to each Class Member by first-class mail within fifteen (15) calendar
days after the Settlement Administrator receives the information from Defendant as set forth

above in paragraph 40.


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       44.    The Notice and Share Form will explain that the Class Members who wish to

receive their portion of the Settlement do not need to return the Share Form unless they wish to

challenge their portion of the Settlement Proceeds. Each Participating Class Member will be
bound for purposes of the Settlement in this Action by the releases set forth in this Settlement.
       45.    Class Members shall have forty-five (45) calendar days from the mailing of the

Class Notice and Share Form to opt-out of the Settlement (the Response Deadline). A Class
Member who has opted-out shall have no standing to object to the Settlement and will not be
entitled to be heard at the Final Approval Hearing.
       46.    Opt-Out Provisions – The Class Notice shall inform Class Members how they may
opt-out of the Settlement. Any Class Member who properly requests to opt-out will not be

entitled to receive a Settlement Share and will not be bound by the Settlement or have any right

to object, appeal, or comment thereon. Prior to the Response Deadline, any Class Member who
has elected to opt-out may withdraw that election by notifying the Settlement Administrator in

writing that he or she wishes to be a Participating Class Member.
       47.    The Share Form must be postmarked by the Response Deadline if delivered to the

Settlement Administrator by postage pre-paid U.S. first-class mail. If delivered by means other

than mail, it must be received by the Settlement Administrator on or before the Response
Deadline. The written objections to the Settlement must be signed by the Class Member. Class

Counsel and Defendant’s Counsel may mutually agree, but need not, in their respective sole
discretion, to accept late-filed objections that are received prior to the Settlement Effective Date.

Any objection to the Settlement that is (1) not postmarked by the Response Deadline, (2) not

received by the Settlement Administrator by the fifth (5th) calendar day after the Response
Deadline; (3) not received by other means by the Settlement Administrator by the Response

Deadline; or (4) not signed by the Class Member is not considered a valid objection. The
Settlement Administrator shall forward any objections received to counsel for all Parties within

five (5) days of receipt, and Class Counsel shall file the objections and any responses thereto


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with the Court prior to the final fairness hearing.

       48.    Share Form Disputes – If a Class Member disagrees with any of the information

listed on his or her Share Form concerning the Piece Rate Earnings included on the Share Form,
the Class Member may dispute such information by returning a signed Share Form with a
statement containing the amount of Piece Rate Earnings that the Class Member believes he or

she earned. The Class Member must attach documents to the Share Form to support his or her
dispute. The Share Form with the disputed information and any documents must be received by
the Response Deadline. The Share Form must include a telephone number to be used to contact
the Class Member if necessary. The Settlement Administrator shall resolve the disagreement
with the Participating Class Member using the employee records provided by Defendant and the

Participating Class Member, in consultation with Defendant’s Counsel.

       49.    Class Members who fail to submit a valid and timely request to opt-out shall be
bound by all terms of the Settlement and any Final Judgment entered in the Action if the

Settlement is finally approved by the Court.
       50.    The Settlement Administrator shall provide updates to Class Counsel and

Defendant’s counsel every week with (1) the number of undeliverable notices/forms; (2) the

number of any opt-outs; and (3) any disputes by Class Members. The Settlement Administrator
shall provide the opt-outs submitted to Class Counsel and Defendant’s Counsel.

       51.    Within fifteen (15) days after the close of business of the Response Deadline, the
Settlement Administrator will provide to Class Counsel and Defendant’s counsel a declaration

including a statement of due diligence and proof of mailing of the Class Notice and Share Form

to the Class Members and a statement as to the number of opt-outs received. Class Counsel shall
provide this information to the Court within its Motion for Final Approval of this Settlement.

       52.    For purposes of computing the Settlement Shares initially for purposes of sending
the Share Form, the Settlement Administrator shall use the estimated Employer Taxes for all

Class Members in computing the Net Settlement Amount. For purposes of computing the


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Settlement Shares after the Final Approval Hearing, the Settlement Administrator shall use the

actual Employer Taxes for all Participating Class Members in computing the Net Settlement

Amount, or Settlement Proceeds. In calculating the Settlement Shares, the Settlement
Administrator shall assume 100% participation of the Class. The Share Form shall advise Class
Members that their Settlement Share or Individual Settlement Payment is an estimate based on

100% participation, and that the actual amount payable to each Class Member may be higher or
lower depending on various factors, such as the number of opt-outs and the Court’s rulings on
other matters. The Class Notice shall advise Class Members of the split percentage between W-2
and 1099 and that Class Members should seek independent tax advice about the tax
consequences of their Individual Settlement Payments. Defendant will not be responsible for

payment of any taxes or any tax consequences to any Class Member as a result of any settlement

payment.
       53.    The Settlement Administrator shall be responsible for issuing and mailing the

checks for the court-approved Settlement Share payments to the Participating Class Members.
       54.    The Settlement Administrator shall be responsible for distributing the payments

pursuant to this Settlement, and for paying all applicable taxes to the appropriate taxing

authorities. The Settlement Administrator will submit to Class Counsel for filing with the Court
proof of all payments made from the Gross Settlement Amount with the Court and will serve all

counsel with a copy of the same, within forty-five (45) days of the Settlement Effective Date.
       55.    The Settlement Administrator shall be responsible for complying with any Class

Action Fairness Act notice requirements.

VI.    RELEASE OF CLAIMS
       56.    Released Claims by Class Representative: In consideration of his awarded Class

Representative Payment and the other terms and conditions of the Settlement, and understanding
that there is a bona fide dispute regarding wages he may be owed, among other things, Plaintiff

irrevocably releases and discharges Defendant and all of its affiliated agents, employees,


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servants, officers, directors, partners, trustees, representatives, shareholders, stockholders,

attorneys, parents, subsidiaries, equity sponsors, related companies/corporations and/or

partnerships (defined as a company/corporation and/or partnership that is, directly or indirectly,
under common control with Defendant or any of its parents and/or affiliates), divisions, assigns,
predecessors, successors, insurers, consultants, joint ventures, joint employers, affiliates, and

alter-egos, and all of their respective past, present and future employees, directors, officers,
agents, attorneys, stockholders, fiduciaries, parents, subsidiaries, and assigns (the “Released
Parties”), from all known and unknown claims, promises, causes of action, or similar rights of
any type that he presently may have with respect to any of the Released Parties through the date
of final approval by the court (“Released Claims”). The Released Claims might arise under

many different foreign, domestic, national, state, or local laws (including statutes, regulations,

other administrative guidance, and common law doctrines), such as federal and state anti-
discrimination statutes, and other laws such as those providing recourse for alleged wrongful

discharge, tort, personal injury, emotional distress, fraud, negligence, defamation, and similar or
related claims, as well as those related to compensation, pay deductions, tax treatment of

earnings, wage disputes of any nature (including those pursuant to the Fair Labor Standards Act),

penalties, liquidated damages, punitive damages, attorneys’ fees, benefits, and family and
medical leave rights. Plaintiff’s release includes all claims that were made, or could have been

made, against the Released Parties in the Action through the date of final approval of the
Settlement. This release does not release claims for worker’s compensation or unemployment

compensation. Plaintiff agrees to promptly pay and to indemnify and hold the Released Parties

herein harmless from and against any and all loss, cost, damage or expense, including without
limitation, attorneys’ fees, interest, assessments, and penalties, arising out of any dispute over the

tax treatment of any of the proceeds received by Plaintiff as a result of this Release.
       57.    Released Claims by Class Members:              In consideration of their Individual

Settlement Payments and the other terms and conditions of the Settlement, and recognizing that


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there is a bona fide dispute regarding wages owed, among other things, each Participating Class

Member (including the named Class Representative) will irrevocably release and discharge

Defendant and all of its affiliated agents, employees, servants, officers, directors, partners,
trustees, representatives, shareholders, stockholders, attorneys, parents, subsidiaries, equity
sponsors, related companies/corporations and/or partnerships (defined as a company/corporation

and/or partnership that is, directly or indirectly, under common control with Defendant or any of
its parents and/or affiliates), divisions, assigns, predecessors, successors, insurers, consultants,
joint ventures, joint employers, affiliates, and alter-egos, and all of their respective past, present
and future employees, directors, officers, agents, attorneys, stockholders, fiduciaries, parents,
subsidiaries, and assigns (the “Released Parties”) from all claims that were or could have been

asserted based on the allegations in the First Amended Complaint (“Complaint”) against

Defendant from August 2, 2016 through the date of preliminary approval by the Court, including
but not limited to claims for unpaid rest periods, claims for unpaid non-piece-rate work (also

referred to as “on-duty, not driving” or “non-productive” time), associated overtime pay, double
damages, penalties, and interest under the Industrial Welfare Act (RCW 49.12, et. seq.), WAC

Section 296-126-092, the Minimum Wage Act (RCW 49.46, et. seq.), Chapters 49.48 and 49.52

RCW, attorneys’ fees and costs, and for all other wage and hour claims, known or unknown,
arising from the facts and causes of action that were or could have been alleged in the Complaint

or listed in this Paragraph under any state, federal or local law, to full extent permitted by law.
This release does not release claims for worker’s compensation or unemployment compensation.

Each Participating Class Member is responsible for appropriately reporting the proceeds received

as a result of this Release on his/her taxes and agrees to hold the Released Parties harmless with
respect to any dispute arising from or related to such reporting.

       58.    Additional Attorneys’ Fees Released by Class Counsel: In consideration for their
Court-approved attorneys’ fees and expenses, Class Counsel waives any and all claims to any

further attorneys’ fees or costs in connection with the Action.
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VII.   CONFIDENTIALITY

       59.    Plaintiff and Class Counsel agree that they will not issue any press releases,

initiate any contact with the press, respond to any press inquiry or have any communication with
the press about this action, or the fact, amount or terms of the Settlement.
       60.    Plaintiff and Class Counsel agree that they will not engage in any advertising or

distribute any marketing materials relating to the Settlement that identifies Defendant, including
but not limited to any postings on any websites maintained by Class Counsel. Class Counsel
shall be permitted to make reference to the Settlement in connection with mediations or
submitting declarations concerning adequacy in other cases (i.e., Class Counsel may identify the
case name, case number, provide a description of the case and resolution, and confirm the fact

that they were approved as Class Counsel).

       61.    Any communication about the Settlement to Class Members by Class Counsel or
Plaintiff prior to the Court-approved mailing will be limited to a statement that a settlement has

been reached and the details will be communicated in a forthcoming Court-approved Notice.
       62.    Defendant shall have the right to rescind this Settlement, rendering it null and

void, if Plaintiff or Class Counsel violate the obligations in this Section VII.

VIII. NO EFFECT ON OTHER BENEFITS
       63.    The Parties agree that the calculations made regarding the Settlement amounts and

the pro-ration of the same among the Class Members, are for purposes of this Settlement only,
and do not give rise to any other rights under any benefit plans or otherwise.

       64.    Payments under this Settlement shall not be considered compensation under any of

Defendant’s employee benefit plans.
IX.    DUTIES OF THE PARTIES PRIOR TO COURT APPROVAL

       65.    Cooperation:     The parties will cooperate to overcome any objections to the
Settlement Agreement that the Parties have determined is a fair and reasonable settlement for the

Class. The Parties and their counsel agree to cooperate and take all reasonable steps necessary


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and appropriate to obtain preliminary and final approval of this Settlement, to effectuate its

terms, and to dismiss the Action with prejudice. The Parties further agree that neither they nor

their counsel will solicit or otherwise encourage Class Members to object to or Opt Out of the
Settlement. Class Counsel agrees not to solicit, directly or indirectly, any employee or former
employee of Defendant to file any claim against Defendant. This does not prohibit Class Counsel

from representing a current or former employee of Defendant that voluntarily, and without
solicitation, seeks out Class counsel.
       66.    Fair, Reasonable and Adequate Settlement: The Parties agree that the Settlement
is fair, reasonable and adequate and will so represent to the Court.
       67.    Unopposed Motion for Preliminary Approval of Settlement: Class Counsel will

move the Court for an Order Granting Preliminary Approval of the Settlement and Notice

substantially in the following form which Defendant shall not oppose, but Defendant will have
an opportunity to review before filing:

               (a)     Setting a date for a fairness hearing on the question whether the proposed
       Settlement should be finally approved as fair, reasonable and adequate as to the Class;

               (b)     Approving as to form, content and distribution of the proposed Notice;

               (c)     Directing the mailing of the Notice to the Class Members;
               (d)     Preliminarily approving the Settlement;

               (e)     Preliminarily certifying a class consisting of Plaintiff and Class Members
       for purposes of Settlement only;

               (f)     Approving Craig Ackermann, Brian Denlinger, India Bodien, and their

       respective law firms, as Class Counsel; and
               (g)     Approving CPT Group, Inc. or another administrator agreed to by the

       Parties as the Parties’ mutually agreed upon Settlement Administrator.
X.     DUTIES OF THE PARTIES FOLLOWING FINAL COURT APPROVAL

       68.    Following final approval of the Settlement by the Court, Class Counsel will submit


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a proposed Final Judgment substantially in the following form:

               (a)     Certifying a Settlement Class consisting of Plaintiff and Participating

       Class Members for purposes of Settlement only;
               (b)     Approving the Settlement, adjudging the terms to be fair, reasonable and
       adequate, and directing consummation of its terms and provisions;

               (c)     Approving the Class Representative Payment to the Named Plaintiff;
               (d)     Approving the payment of attorneys’ fees and expenses to Class Counsel;
               (e)     Dismissing the Action on the merits with prejudice and without an award
       of costs or fees to any party, and permanently barring all Class Members and Plaintiff
       from prosecuting any and all Released Claims set forth above.

XI.    PARTIES’ AUTHORITY

       69.    The respective signatories to the Settlement represent that they are fully authorized
to enter into this Settlement and bind the respective Parties to its terms and conditions.

XII.   MUTUAL FULL COOPERATION
       70.     The Parties agree to cooperate fully with each other to accomplish the terms of

this Settlement, including but not limited to, execution of such documents and to take such other

action as may reasonably be necessary to implement the terms of this Settlement. The Parties
shall use their best efforts, including all efforts contemplated by this Settlement and any other

efforts that may become necessary by order of the Court, or otherwise, to effectuate the terms of
this Settlement. As soon as practicable after execution of this Settlement, Class Counsel shall,

with the cooperation of Defendant and its counsel, take all steps necessary to secure the Court’s

Final Judgment.
XIII. NO PRIOR ASSIGNMENTS

       71.    The Parties represent, covenant, and warrant that they have not directly or
indirectly, assigned, transferred, encumbered, or purported to assign, transfer, or encumber to

any person or entity any portion of any liability, claim, demand, action, cause of action or right


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released and discharged in this Settlement.

XIV. NO ADMISSION

       72.    Nothing contained in this Settlement shall be construed or deemed an admission of
liability, culpability, negligence, or wrongdoing on the part of Defendant. Defendant denies any
such liability. Each of the Parties has entered into this Settlement with the intention to avoid

further disputes and litigation with the attendant inconvenience and expenses.
       73.    This Settlement is a settlement document and shall be inadmissible in evidence in
any proceeding, except an action or proceeding to approve, interpret, or enforce its terms.
XV.    ENFORCEMENT ACTIONS
       74.    In the event that one or more of the Parties institutes any legal action against any

other party or Parties to enforce the provisions of this Settlement or to declare rights and/or

obligations under this Settlement, the successful party or Parties shall be entitled to recover from
the unsuccessful party or Parties reasonable attorneys’ fees and costs, including expert witness

fees and costs incurred in connection with any enforcement actions.
XVI. NOTICES

       75.    Unless otherwise specifically provided, all notices, demands or other

communications shall be in writing and shall be deemed to have been duly given as of the fifth
(5th) business day after mailing by United States registered or certified mail, return receipt

requested, addressed as follows:

       To the Class:

       India Lin Bodien, Esq.
       India Lin Bodien, Attorney at Law
       2522 North Proctor Street, #387
       Tacoma, Washington 98406

       Craig Ackermann, Esq.
       Brian Denlinger, Esq.
       Ackermann & Tilajef, P.C.
       2602 North Proctor Street, #205
       Tacoma, Washington 98406

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       To Defendant:

       Sheryl J. Willert, Esq.
       Jeffery M. Wells, Esq.
       Williams, Kastner & Gibbs PLLC
       601 Union Street, Suite 4100
       Seattle, WA 98101

XVII. VOIDING THE AGREEMENT
       76.       If this Settlement is not approved, or if the Court’s Final Judgment is materially

modified on appeal, then this Settlement will become null and void, no payment under this
Settlement will be made, and the Settlement shall not be used nor be admissible in any
subsequent proceeding either in this Court or in any other Court or forum, nor shall there be any
certification of the Class, as it is being requested here solely for the purposes of this Settlement.

If there is any reduction in the attorneys’ fee award and/or costs requested, such reduction may

be appealed as set forth below but is not a basis for rendering the Settlement voidable and
unenforceable.

XVIII. CONSTRUCTION

       77.     The Parties agree that the terms and conditions of this Settlement are the result of
intensive arm’s-length negotiations between the Parties and that this Settlement shall not be

construed in favor of or against any Party by reason of the extent to which any Party or his, her
or its counsel participated in the drafting of this Settlement.

XIX. CAPTIONS AND INTERPRETATIONS

       78.     Paragraph titles or captions contained in this Settlement are a matter of
convenience and for reference, and in no way define, limit, extend, or describe the scope of this

Settlement or any provision. Each term of this Settlement is contractual and not merely a recital.
XX.    MODIFICATION

       79.     This Settlement may not be changed, altered, or modified, except in writing and

signed by the Parties, and approved by the Court.
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XXI. INTEGRATION CLAUSE

        80.    This Settlement contains the entire agreement between the Parties, and, once it is

fully executed, all prior or contemporaneous agreements, understandings, representations, and
statements, whether oral or written and whether by a Party or such Party’s legal counsel, relating
to the resolution of the Action, are merged in this Settlement. No rights under this Settlement

may be waived except in writing.
XXII. BINDING ON ASSIGNS
        81.    This Settlement shall be binding upon and inure to the benefit of the Parties and
their respective heirs, trustees, executors, administrators, successors and assigns.
XXIII. CLASS COUNSEL SIGNATORIES

        82.    It is agreed that it is impossible or impractical to have each Class Member execute

this Settlement. The Notice will advise all Class Members of the binding nature of the release.
Excepting only the Class Members who submit a timely and valid Opt Out, the Notice shall have

the same force and effect as if this Settlement were executed by Plaintiff and each Class Member
with regard to the Release of Claims recited in Section VI, paragraphs 56 (Plaintiff) and 57

(Class Members).

XXIV. COUNTERPARTS
        83.     This Settlement may be executed in counterparts, and when each Party has signed

and delivered at least one such counterpart, either by original signature, facsimile signature, or
electronic signature, each counterpart shall be deemed an original, and, when taken together with

other signed counterparts, shall constitute one Settlement, which shall be binding upon and

effective as to all Parties.
XXV. RIGHT OF APPEAL

        84.    The Parties agree to waive all appeals from the Court’s Final Judgment of this
Settlement, unless the Court materially modifies the Settlement; provided, however, that Plaintiff

may appeal any reduction in the requested amount of attorneys’ fees and/or costs, or Class


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Representative Payment.

XXVI. CLASS CERTIFICATION

       85.     The Parties agree that the stipulation of class certification is for the purposes of
this Settlement only and if for any reason the Settlement is not approved, the Settlement will be
of no force or effect, the class will not be certified and no payment will be made. The Parties

agree that certification for settlement purposes is in no way an admission that class certification
is proper and that evidence of this stipulation for settlement purposes only will not be deemed
admissible in this or any other proceeding.
XXVII. RIGHT OF REVOCATION
       86.      In the event that more than 5% of the Class Members opt out of the Settlement

(i.e., 5 or more Class Members assuming the class size is and remains 87), Defendant has the

right to void the Settlement. The Settlement Administrator will notify Defendant of the total
number of opt-outs within 14 days after the deadline for the submission of Requests for

Exclusion. Defendant shall have 10 days thereafter to notify the Settlement Administrator and
Class Counsel of its election to void the Settlement, after which the election shall be waived.

       87.      In the event that the Class contains 15% more Class Members, as of the hearing

on Plaintiff’s Motion for Preliminary Approval, than the 87 of which Class Counsel were
informed prior to the execution of the Memorandum of Understanding on April 22, 2021 (i.e., 14

or more total Class Members), then Plaintiff will have the right to void this Agreement unless
Defendant agrees to proportionately increase the gross settlement amount to account for those

individuals.

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XXVIII.        NO RETALIATION

       88.    Defendant agrees that it will not engage in discrimination or retaliation of any kind
against the Class Representative as a result of filing this action, or for giving testimony,
assistance, or participating in any manner in an investigation, proceeding, or hearing pursuant to
this action, or any Class Member for choosing to participate or not participate in this Settlement.

                               COUNSEL AND THE PARTIES

DATED: June16
           __, 2021                          WILLIAMS, KASTNER & GIBBS PLLC


                                       By:
                                             SHERYL J. WILLERT, ESQ.
                                             JEFFERY M. WELLS, ESQ.
                                             Attorneys for Defendant

DATED: June __, 2021                         ACKERMANN & TILAJEF, P.C.


                                       By:
                                             CRAIG ACKERMANN, ESQ.
                                             BRIAN DENLINGER, ESQ.
                                             Attorneys for Plaintiff

DATED: June __, 2021                         INDIA LIN BODIEN, ATTORNEY AT LAW


                                       By:
                                             INDIA LIN BODIEN, ESQ.
                                             Attorney for Plaintiff

DATED: June __, 2021
                                       By:
                                             KEVIN J. CRANE
                                             PLAINTIFF

DATED: June __,
            11 2021
                                       By:
                                             URS MIDWEST, INC.
                                             DEFENDANT
                                             By: ________________________________________
                                                   Mark Anderson

                                             Its: _________________________________________
                                                  President & CEO




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